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               f.      In June 2017, REPORTER #1 and Wolfe exchanged a series of emails about

       obtaining the SSCI’s public WiFi password.

REPORTER #2

       14.     During in or around 2013 and 2014, REPORTER #2 was an undergraduate student

serving as an intern with a news service in Washington, D.C.

       15.     In approximately December 2013, Wolfe and REPORTER #2 began a personal

relationship that continued until in or around December 2017.

       16.     From in or around mid-2014 through in or around December 2017, REPORTER #2

was employed in Washington, D.C., by several different news organizations covering national

security matters, including matters relating to the SSCI.       During this period, REPORTER #2

published dozens of news articles about SSCI and its activities.

       17.     From in or around mid-2014 through in or around December 2017, Wolfe and

REPORTER #2 exchanged tens of thousands of electronic communications, often including daily

texts and phone calls, and they frequently met in person at a variety of locations including Hart

Senate Office Building stairwells, restaurants, and REPORTER #2’s apartment.

       18.      Wolfe and REPORTER #2 also communicated with each other through encrypted

cell phone applications.

       19.     In December 2017, before being interviewed by the FBI, Wolfe sent a text message

to REPORTER #2 that included the following: “I’ve watched your career take off even before

you ever had a career in journalism. . . . I always tried to give you as much information that I

could and to do the right thing with it so you could get that scoop before anyone else . . . . I always

enjoyed the way that you would pursue a story like nobody else was doing in my hallway. I felt




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like I was part of your excitement and was always very supportive of your career and the tenacity

that you exhibited to chase down a good story.”

REPORTER #3

       20.     At all times relevant to the Indictment, REPORTER #3 was employed with a news

organization in Washington, D.C., that covered national security matters, including matters

relating to the SSCI.

       21.     Between in or around September 2017 and continuing until at least in or around

December 2017, REPORTER #3 and Wolfe regularly communicated with each other using the

anonymizing messaging application Signal, text messages, and telephone calls, as follows:

               a.       On or about October 16, 2017, Wolfe informed REPORTER #3, using

       Signal, the unclassified but otherwise not publicly available fact that he had served MALE-

       1 with a subpoena to appear before the SSCI.

               b.       On or about October 17, 2017, REPORTER #3 asked Wolfe, using Signal,

       to provide REPORTER #3 with MALE-1’s contact information, and Wolfe agreed to do

       so. Later that day, a news organization published a story, under REPORTER #3’s byline,

       reporting that MALE-1 had been subpoenaed to testify by the SSCI, and that MALE-1 had

       been contacted by the news organization for comment.

               c.       After the story was published, Wolfe congratulated REPORTER #3, using

       Signal, stating, “Good job!” and “I’m glad you got the scoop.” REPORTER #3 wrote back,

       using Signal, “Thank you. [MALE-1] isn’t pleased, but wouldn’t deny that the subpoena

       was served.”




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               d.       On or about October 18, 2017, MALE-1 sent an email to the SSCI,

       complaining that the news organization had published REPORTER #3’s news article of

       the previous day, reporting that he had been subpoenaed by the SSCI.

               e.       On or about October 24, 2017, at 9:52 a.m., Wolfe informed REPORTER

       #3, using Signal, the unclassified but not otherwise publicly available fact that MALE-1

       would testify in a closed hearing before the SSCI “this week.” At 9:58 a.m., REPORTER

       #3 sent an email to MALE-1, asking him to confirm that he would be “paying a visit to

       Senate Intelligence staffers this week.”

               f.       On or about October 24, 2017, at 9:23 p.m., MALE-1 sent an email to the

       SSCI, forwarding the email he had received from REPORTER #3, and complaining that

       the details of his appearance had been leaked to the press.

REPORTER #4

       22.     At all times relevant to the Indictment, REPORTER #4 was employed with a news

organization in Washington, D.C., that covered national security matters, including matters

relating to the SSCI.

       23.     Between October 2017 and continuing until at least December 2017, REPORTER

#4 and Wolfe frequently communicated with each other, including about unclassified but not

otherwise publicly available information, using the anonymizing messaging application Signal.




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